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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

RAND LOGISTICS, INC., et al.,' Case No. 18-10175 (BLS)

(Jointly Administered)
Debtors.

Ref. Docket Nos.: 13, 14, 88, 89, 114, 120, 125, 126,
127, 130, 135, 136, 137, 138, 139

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ORDER APPROVING THE DEBTORS’ DISCLOSURE STATEMENT FOR, AND
CONFIRMING, THE DEBTORS’ JOINT PREPACKAGED
CHAPTER 11 PLAN OF REORGANIZATION

The above-captioned debtors and debtors in possession (collectively, the “Debtors”)
having:

a. distributed, on January 29, 2018 (i) the Debtors’ Joint Prepackaged Chapter 11
Plan of Reorganization [Docket No. 13] (the “Plan”), (ii) the Disclosure
Statement for the Debtors’ Joint Prepackaged Chapter 11 Plan of Reorganization
[Docket No. 14] (the “Disclosure Statement”), and (iii) the ballot (the “Ballot”)
for voting on the Plan to the holder of Claims entitled to vote on the Plan, namely
the holder of Class 4 Second Lien Claims, in accordance with the terms of title 11
of the United States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”), the
Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and the Local
Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy
Court for the District of Delaware (the “Local Rules”);

b. commenced, on January 29, 2018 (the “Petition Date”), the Chapter 11 Cases by
filing voluntary petitions for relief under chapter 11 of the Bankruptcy Code;

Cc. filed,’ on January 30, 2018, the Plan and the Disclosure Statement;

The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number,
are: Rand Logistics, Inc. (5343); Lower Lakes Transportation Company (5364); Grand River Navigation

- Company, Inc. (5146); Black Creek Shipping Company, Inc. (5474); Rand LL Holdings Corp. (6352); Rand
Finance Corp. (1847); and Black Creek Shipping Holding Company, Inc. (5313). The service address for each
of the above Debtors is 333 Washington Street, Suite 201, Jersey City, NJ 07302.

Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Plan (as

defined herein), the Disclosure Statement (as defined herein), or the Bankruptcy Code (as defined herein), as
applicable. The rules of construction set forth in Article 1.1 of the Plan shall apply.

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filed, on January 30, 2018, the Declaration of Mark S. Hiltwein in Support of
Chapter 11 Petitions and Requests for First Day Relief [Docket No. 12] (the
“First Day Declaration”), detailing the facts and circumstances giving rise to the
need for commencement of the Chapter 11 Cases and the relief being sought in
the First Day Motions;

filed, on January 30, 2018, the Motion of the Debtors for Entry of an Order (2)
Shortening Notice of, and Scheduling a Combined Hearing to Consider, (A)
Approval of the Disclosure Statement and (B) Confirmation of the Plan, (I)
Establishing a Confirmation Schedule, (III) Approving the Manner and Form of
Notice for the Combined Hearing, (IV) Approving Notice and Objection
Procedures for the Assumption or Rejection of Executory Contracts and
Unexpired Leases, and (V) Approving Solicitation Procedures and Form of Ballot
[Docket No. 15] (the “Scheduling and Solicitation Procedures Motion”):

served, on February 1, 2018, the Notice of (I) Combined Hearing on the
Disclosure Statement, Confirmation of the Joint Prepackaged Chapter 11 Plan,
and Related Matters; and (II) Objection Deadlines and Summary of the Debtors’
Joint Prepackaged Chapter 11 Plan [Docket No. 48] (the “Combined Hearing
Notice’), which contained notice of the commencement of the Chapter 11 Cases,
the date and time set for the hearing to consider approval of the Disclosure
Statement and Confirmation of the Plan (the “Combined Hearing”), and the
deadline for filing objections to the Plan and the Disclosure Statement, on all
creditors and equity holders of the Debtors;

published, on February 2, 2018, in The Wall Street Journal (U.S. Edition), the
Combined Hearing Notice, consistent with the order granting the Scheduling and
Solicitation Procedures Motion [Docket No. 47] (the “Scheduling and Solicitation
Procedures Order’);

filed, on February 6, 2018, the Affidavit of Service of the Combined Hearing
Notice [Docket Nos. 68 and 70] (the “Combined Hearing Affidavit of Service”);

filed, on February 8, 2018, the Affidavit of Publication of the Combined Hearing
Notice [Docket No. 74] (the “Combined Hearing Affidavit of Publication” and,
together with the Combined Hearing Affidavit of Service, the “Combined Hearing
Notice Affidavits”);

filed, on February 15, 2018, the Certification of Andres A. Estrada with Respect
to the Tabulation of Votes on the Debtors’ Joint Prepackaged Chapter 11 Plan of
Reorganization [Docket No. 83], which detailed the result of the Plan voting

process (the “Voting Report”);

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Unless otherwise indicated, use of the term “filed” herein refers also to the service, if applicable, of the

applicable document filed on the docket in the Chapter 11 Cases, as applicable.

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filed, on February 16, 2018, the Debtors’ Notice of (I) Assumption of Contracts
and Leases, (Il) Fixing of Cure Amounts, and (III) Deadline to Object Thereto
[Docket No. 87] (the “Assumption Notice”);

filed, on February 16, 2018, the Notice of Filing of Proposed Order Approving the
Debtors’ Disclosure Statement for, and Confirming, the Debtors’ Joint
Prepackaged Chapter 11 Plan of Reorganization [Docket No. 88];

filed, on February 16, 2018 the Plan Supplement for the Debtors’ Joint
Prepackaged Chapter 11 Plan of Reorganization [Docket No. 89] (as modified,
amended, or supplemented from time to time, the “Plan Supplement” and which,
for purposes of the Plan and this Confirmation Order, is included in the definition
of “Plan”);

filed, on February 16, 2018 the Notice of Filing of Plan Supplement to Debtors’
Joint Prepackaged Chapter 11 Plan of Reorganization [Docket No. 89] (as
modified, amended, or supplemented from time to time, the “Plan Supplement
Notice”);

filed, on February 26, 2018, the Affidavit of Service of the Plan Supplement
Notice and the Assumption Notice [Docket No. 136] (together with the Combined
Hearing Affidavits, the “Affidavits”);

filed, on February 23, 2018, the Debtors’ Memorandum of Law in Support of an
Order Approving the Debtors’ Disclosure Statement for, and Confirming, the
Debtors’ Joint Prepackaged Chapter 11 Plan of Reorganization] [Docket No.
120] (the “Confirmation Brief”), the Declaration of Mark S. Hiltwein in Support
of Confirmation of the Debtors’ Joint Prepackaged Chapter 11 Plan [Docket No.
125] (the “Hiltwein Confirmation Declaration”), the Declaration of Kevin
Haggard in Support of Approval of the Disclosure Statement and Confirmation of
the Debtors’ Joint Prepackaged Chapter 11 Plan [Docket No. 126] (the “Haggard
Confirmation Declaration”), and the Declaration of Daniel Fishman in Support of
Approval of the Disclosure Statement and Confirmation of the Debtors’ Joint
Prepackaged Chapter 11 Plan [Docket No. 127] (the “Fishman Confirmation
Declaration” and, together with the First Day Declaration, the Hiltwein
Confirmation Declaration, and the Haggard Confirmation Declaration, the
“Declarations”);

filed, on February 26, 2018, the Notice of Filing of Modified Exhibit 5 to Plan
Supplement to Debtors' Joint Prepackaged Chapter 11 Plan of Reorganization
[Docket No. 135];

filed, on February 27, the Notice of Filing of Revised Proposed Order Approving
the Debtors Disclosure Statement for, and Confirming, the Debtors Joint
Prepackaged Chapter 11 Plan of Reorganization [Docket No. 139]; and

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operated their businesses and managed their properties during the Chapter 11
Cases as debtors in possession pursuant to Bankruptcy Code sections 1107(a) and
1108.

The Court having:

a.

entered, on January 31, 2018, the Scheduling and Solicitation Procedures Order
[Docket No. 47], by which the Court also approved (1) the procedures used by the
Debtors for soliciting and tabulating votes on the Plan, (2) the Ballot, (3) the
procedures used by the Debtors related to the assumption of executory contracts
and unexpired leases, (4) the form of the Assumption Notice, and (5) the
scheduling of dates related to the Combined Hearing;

set February 20, 2018 at 4:00 P.M. (prevailing Eastern Time) as the deadline for
filing objections to the Plan;

set February 27, 2018 at 2:30 P.M. (prevailing Eastern Time), as the date and time
for the Combined Hearing, pursuant to Bankruptcy Rules 3017 and 3018 and
Bankruptcy Code sections 1126, 1128, and 1129, as set forth in the Scheduling
and Solicitation Procedures Order;

reviewed the Plan, the Disclosure Statement, the Plan Supplement, the
Assumption Notice, the Confirmation Brief, the Declarations, the Voting Report,
the Combined Hearing Notice, the Affidavits, and all filed pleadings, exhibits,
statements, and comments regarding approval of the Disclosure Statement and
Confirmation, including’ any and all objections, statements, and reservations of
rights;

held the Combined Hearing;

heard the statements and arguments made by counsel in respect of approval of the
Disclosure Statement and Confirmation;

considered all oral representations, testimony, documents, filings, and other
evidence regarding approval of the Disclosure Statement and Confirmation; and

taken judicial notice of all pleadings and other documents filed, all orders entered,
and all evidence and arguments presented in the Chapter 11 Cases.

NOW, THEREFORE, it appearing to the Court that notice of the Combined Hearing, the

Plan and the opportunity for any party in interest to object to approval of the Disclosure

The words “includes” and “including” are not limiting and mean that the things specifically identified are set

forth for purposes of illustration, clarity or specificity and do not in any respect qualify, characterize or limit
the generality of the class within which such things are included.

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Statement and Confirmation have been adequate and appropriate as to all parties affected or to be
affected by the Plan and the transactions contemplated thereby and that any party in interest so
affected has had the opportunity to object to Confirmation, and the record of the Chapter 11
Cases and the legal and factual bases set forth in the documents filed in support of approval of
the Disclosure Statement and Confirmation and other evidence presented at the Combined
Hearing establish just cause for the relief granted herein; and after due deliberation thereon and
good cause appearing therefor, the Court makes and issues the findings of fact and conclusions
of law set forth in the Opinion and herein, and orders:

FINDINGS OF FACT AND CONCLUSIONS OF LAW

IT IS DETERMINED, FOUND, ADJUDGED, DECREED, AND ORDERED THAT:
A. Findings and Conclusions.

1. The findings and conclusions set forth herein, and in the record of the Combined
Hearing, constitute the Court’s findings of fact and conclusions of law under Rule 52 of the
Federal Rules of Civil Procedure, as made applicable herein by Bankruptcy Rules 7052 and
9014. Any finding of fact shall constitute a finding of fact even if it is referred to as a conclusion

of law, and any conclusion of law shall constitute a conclusion of law even if it is referred to as a

finding of fact.
B. Jurisdiction, Venue, and Core Proceeding.
2. The Court has jurisdiction over this matter and the Chapter 11 Cases pursuant to

sections 157 and 1334 of title 28 of the United States Code and the Amended Standing Order of
Reference from the United States District Court for the District of Delaware, dated February 29,
2012. The Court has exclusive jurisdiction to determine whether the Disclosure Statement and
the Plan comply with the applicable provisions of the Bankruptcy Code and should be approved

and confirmed, respectively. Venue is proper in this district pursuant to sections 1408 and 1409

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of title 28 of the United States Code. Consideration of approval of the Disclosure Statement,
including associated Solicitation Procedures (as defined below), and Confirmation of the Plan
are core proceedings within the meaning of section 157(b)(2) of title 28 of the United States
Code.

C. Eligibility for Relief.

3. The Debtors have been and remain entities eligible for relief under Bankruptcy
Code section 109, and the Debtors are proper proponents of the Plan under Bankruptcy Code
section 1121(a).

D. Commencement and Joint Administration of the Chapter 11 Cases.

4. On the Petition Date, each of the Debtors commenced a voluntary case under
chapter 11 of the Bankruptcy Code. In accordance with the Order Directing Joint
Administration of Chapter 11 Cases Pursuant to Rule 1015(b) [Docket No. 38], the Chapter 11
Cases have been consolidated for procedural purposes only and are being jointly administered
pursuant to Bankruptcy Rule 1015. Since the Petition Date, the Debtors have operated their
businesses and managed their properties as debtors in possession pursuant to Bankruptcy Code
sections 1107(a) and 1108. No trustee, examiner, or statutory committee has been appointed in
the Chapter 11 Cases.

E. Judicial Notice.

5. The Court takes judicial notice of (and deems admitted into evidence for purposes
of Confirmation) the docket of the Chapter 11 Cases maintained by the clerk of the Court or its
duly appointed agent, including all pleadings and other documents filed, all orders entered, and
all evidence and arguments made, proffered, adduced, or admitted at the hearings held before the

Court during the pendency of the Chapter 11 Cases.

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F. Objections.

6. All parties have had a full and fair opportunity to litigate any issues raised, or
which might have been raised, by solicitation or Confirmation. Any resolutions of objections
explained on the record at the Combined Hearing are incorporated herein by reference. At the
direction of the Bankruptcy Court, paragraph 59 is added herein to resolve the objection filed by
the United States. All unresolved objections, statements, informal objections, and reservations of
rights, if any, related to the Solicitation Procedures (as defined below), the Disclosure Statement,
the Plan or Confirmation are OVERRULED on the merits, in all respects, with prejudice. All
withdrawn objections, if any, are deemed withdrawn with prejudice.

G. Burden of Proof—Confirmation of the Plan.

7. The Debtors, as proponents of the Plan, have met their burden of proving all
applicable elements of Bankruptcy Code sections 1129(a) and (b) by a preponderance of the
evidence, which is the applicable evidentiary standard for Confirmation. The evidentiary record
of the Combined Hearing supports the findings of fact and conclusions of law set forth in this
Confirmation Order.

H. Notice.

8. As evidenced by the Affidavits, due, adequate, and sufficient notice of the
Disclosure Statement, the Plan, the Plan Supplement, and the Combined Hearing, together with
all deadlines for voting to accept or reject the Plan as well as objecting to the Disclosure
Statement, the Plan, the proposed rejection of executory contracts and unexpired leases, and the
proposed assumption of executory contracts and unexpired leases and the associated proposed
Cure, has been provided to: (a) the Office of the United States Trustee for the District of
Delaware (the “U.S. Trustee”); (b) the holders of the twenty (20) largest unsecured claims

against the Debtors (on a consolidated basis); (c) Bank of America, N.A., as the First Lien

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Agent; (d) counsel to the First Lien Agent, (i) Otterbourg P.C., 230 Park Avenue, New York, NY
10169, and (ii) Womble Bond Dickinson (US) LLP, 222 Delaware Avenue, 15th Floor,
Wilmington, DE 19801; (e) Lightship Capital LLC, as the Second Lien Agent and Second Lien
Lender; (f) counsel to the Second Lien Agent and Second Lien Lender, (i) White & Case LLP,
Southeast Financial Center, 200 Biscayne Blvd., Suite 4900, Miami, FL 33131 and 1221 6th
Avenue, New York, NY 10020, and (ii) Fox Rothschild LLP, 919 North Market St., Suite 300,
P.O. Box 2323, Wilmington, DE 19899; (g) the United States Attorney’s Office for the District
of Delaware; (h) the Internal Revenue Service; (i) the office of the attorneys general for the states
in which the Debtors operate; (j) the Securities and Exchange Commission; and (k) any party
that has requested notice pursuant to Bankruptcy Rule 2002 (the parties identified in clauses (a)

through (k), collectively, the “Core Notice Parties”). On February 1, 2018, the Combined

Hearing Notice was mailed to all known holders of Claims and Interests as of January 25, 2018
and was published in The Wall Street Journal (U.S. Edition) on February 2, 2018 in compliance
with Bankruptcy Rule 2002(/). Such notice is adequate and sufficient pursuant to Bankruptcy
Code section 1128, Bankruptcy Rules 2002, 3017, and 3020, the Local Rules, and other
applicable law and rules, and no other or further notice is or shall be required.

I. Disclosure Statement.

9. The Disclosure Statement contains (a) sufficient information of a kind necessary
to satisfy the disclosure requirements of all applicable non-bankruptcy law, rules, and
regulations, including the Securities Act, (b) “adequate information” (as such term is defined in
Bankruptcy Code section 1125(a) and used in Bankruptcy Code section 1126(b)(2)) with respect
to the Debtors, the Plan, and the transactions contemplated therein, (c) specific descriptions of

releases and injunctions related thereto in accordance with Bankruptcy Rule 3016(c), and (d) is

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approved in all respects. The filing of the Disclosure Statement with the clerk of the Court or its
duly appointed agent satisfied Bankruptcy Rule 3016(b).

J. Ballot.

10. The only Class of Claims entitled to vote to accept or reject the Plan (the “Voting
Class”) is set forth below:

Class Designation

4 Second Lien Claims

11. As set forth and approved in the Scheduling and Solicitation Procedures Order,
the Ballot the Debtors used to solicit votes to accept or reject the Plan from the holder in the
Voting Class adequately addressed the particular needs of the Chapter 11 Cases and was
appropriate for the holder in the Voting Class to vote to accept or reject the Plan. No other or
further ballots were required.

K. Solicitation.

12. As described in the Voting Report, the solicitation of votes on the Plan complied
with (i) the solicitation procedures set forth in the Scheduling and Solicitation Procedures
Motion and approved in the Scheduling and Solicitation Procedures Order (the “Solicitation
Procedures”), and (ii) sections 1125 and 1126, and all other applicable provisions of, the
Bankruptcy Code, the Bankruptcy Rules, the Local Rules, and any other applicable rules, laws,
and regulations, including the registration requirements under the Securities Act and was
appropriate and satisfactory based upon the circumstances of the Chapter 11 Cases, as
applicable.

13. As described in the Voting Report, the Declarations and the Affidavits, as
applicable, prior to the Petition Date, the Plan, the Disclosure Statement, and the Ballot

(collectively, the “Solicitation Packages”), and, following the Petition Date, the Combined

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Hearing Notice, were transmitted and served in compliance with the Bankruptcy Code, including
sections 1125 and 1126 thereof, the Bankruptcy Rules, including Bankruptcy Rules 3017 and
3018, the Local Rules, the Scheduling and Solicitation Procedures Order, and any applicable
non-bankruptcy law. Transmission and service of the Solicitation Packages and the Combined
Hearing Notice were timely, adequate, and sufficient. No further notice is or was required.

14. As set forth in the Voting Report, the Solicitation Packages were distributed to the
holder in the Voting Class that held a Claim as of January 25, 2018, and such notice is
reasonable and sufficient.

15. The period during which the Debtors solicited votes on the Plan was a reasonable
and sufficient period of time for the holder in the Voting Class to make an informed decision to
accept or reject the Plan.

16. | Under Bankruptcy Code section 1126(f), the Debtors were not required to solicit
votes from the holders of Claims in the Unimpaired Classes (as defined below), each of which is
conclusively presumed to have accepted the Plan. The Debtors were not required to solicit votes
from the holders of Existing Preferred Shares and Existing Common Shares in Class 7 and Class
8, respectively, who are deemed to have rejected the Plan.

17. The Debtors, the Reorganized Debtors, the Second Lien Agent, and the holder of
Second Lien Claims, and each of their respective affiliates, officers, directors, advisors, and
agents are entitled to the protection of Bankruptcy Code section 1125(e). The receipt and
tabulation of the Ballot from the holder of the Second Lien Claim was proper and in compliance
with Bankruptcy Code section 1125(g).

L. Tabulation Results.

18. On February 15, 2018, the Debtors filed the Voting Report, certifying that the sole

holder in Class 4 Second Lien Claims voted to accept the Plan. All procedures used to tabulate

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the Ballot were fair, reasonable, and complied with the applicable provisions of the Bankruptcy
Code, the Bankruptcy Rules, the Local Rules, the Scheduling and Solicitation Procedures Order,
and all other applicable laws, rules, and regulations.

M. Plan Supplement.

19. | The Plan Supplement complies with the Bankruptcy Code and the terms of the
Plan, and the filing and notice of such documents are good and proper in accordance with the
Bankruptcy Code, the Bankruptcy Rules, the Local Rules, and the Scheduling and Solicitation
Procedures Order, and no other or further notice is required. All documents included in the Plan
Supplement are integral to, part of, and incorporated by reference into, the Plan. Subject to the
terms of the Plan, and only consistent therewith, the Debtors reserve the right to alter, amend,
update, or modify the Plan Supplement as well as the documents set forth therein (including the
Schedule of Assumed Contracts), and any such alterations, amendments, updates, or
modifications shall be deemed incorporated into the Plan. The Debtors timely filed and served
the Plan Supplement Notice on the Core Notice Parties, the Persons and Entities listed on the
Debtors’ creditor matrix, and holders of Claims and Interests as of January 25, 2018 and filed
and served the Schedule of Assumed Contracts (through the Assumption Notice) on the relevant
contract counterparties and the Core Notice Parties, providing them with due, adequate and
sufficient notice of—and ample time to review—the Plan Supplement, the proposed
Confirmation Order, and the Schedule of Assumed Contracts prior to the Combined Hearing.

N. Compliance with Bankruptcy Code Requirements—Bankruptcy Code
Section 1129(a)(1).

20. The Plan complies with all applicable provisions of the Bankruptcy Code,

including sections 1122 and 1123, as required under Bankruptcy Code section 1129(a)(1). In

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addition, the Plan is dated and identifies the Entities submitting it, thereby satisfying Bankruptcy
Rule 3016(a).

(i) Proper Classification— Bankruptcy Code Sections 1122 and
1123(a)(1).

21. The Plan satisfies the requirements of Bankruptcy Code sections 1122(a) and
1123(a)(1). Article HI of the Plan provides for the separate classification of Claims and
Interests, other than Claims of a kind specified in Bankruptcy Code sections 507(a)(2), 507(a)(3)
and 507(a)(8), into nine (9) Classes based on differences in the legal nature or priority of such
Claims and Interests. Valid business, factual, and legal reasons exist for the separate
classification of such Classes of Claims and Interests. The classifications reflect no improper
purpose and do not unfairly discriminate between, or among, holders of Claims or Interests. The
classification of Claims and Interests in the Plan is reasonable and necessary to implement the
Plan. In accordance with Bankruptcy Code section 1122(a), each Class of Claims and Interests
contains only Claims or Interests that are substantially similar to the other Claims or Interests
within that Class.

(ii) Specified Unimpaired Classes—Bankruptcy Code Section 1123(a)(2).

22. The Plan satisfies the requirements of Bankruptcy Code section 1123(a)(2).
Article III of the Plan specifies that Claims and Interests, as applicable, in the following Classes

(the “Unimpaired Classes”) are Unimpaired under the Plan within the meaning of Bankruptcy

Code section 1124:

Class Designation

1 Other Priority Claims

Other Secured Claims

First Lien Claims

General Unsecured Claims

Intercompany Claims

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Interests in Debtors other than Rand

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23. Additionally, Article II of the Plan specifies that Allowed Administrative Claims,
Professional Fee Claims, Priority Tax Claims, statutory fee claims, and DIP Claims will be paid
in full in accordance with the terms of the Plan (unless otherwise agreed by the Debtors, with the
consent of Lightship, or the Reorganized Debtors, as applicable, and the relevant holder(s) in
accordance with the terms of the Plan), although these Claims are not classified under the Plan.

(iii) Specified Treatment of Impaired Classes—Bankruptcy Code Section
1123(a)(3).

24. The Plan satisfies the requirements of Bankruptcy Code section 1123(a)(3).

Article III of the Plan specifies that Claims and Interests, as applicable, in the following Classes

(the “Impaired Classes”) are Impaired under the Plan within the meaning of Bankruptcy Code

section 1124, and describes the treatment of such Classes:

Class Designation

4 Second Lien Claims

7 Existing Preferred Shares
8 Existing Common Shares

(iv) No Discrimination—Bankruptcy Code Section 1123(a)(4).

25. The Plan satisfies the requirements of Bankruptcy Code section 1123(a)(4). The
Plan provides for the same treatment for each Claim or Interest within each respective Class
unless the holder of such Claim or Interest has agreed to less favorable treatment of such Claim
or Interest, as the case may be.

(v) Adequate Means for Plan Implementation—Bankruptcy Code Section
1123(a)(5).

26. The Plan satisfies the requirements of Bankruptcy Code section 1123(a)(5). The
provisions in Article IV and elsewhere in the Plan, and in the exhibits and attachments to the
Plan, the Plan Supplement, and the Disclosure Statement, provide, in detail, adequate and proper

means for the Plan’s implementation, including: (a) all actions set forth in Article IV of the Plan;

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(b) the continued corporate existence of the Reorganized Debtors; (c) the funding of the Plan
through the Exit Facility; (d) the authorization, issuance, and delivery of New Common Stock;
(e) the cancellation of certain indebtedness, agreements, and existing securities; (f) the
cancellation of certain existing Liens and security interests; (g) the composition of the New
Board; (h) the revesting of Estate assets in the Reorganized Debtors; (i) the assumption,
assumption and assignment, or rejection of executory contracts or unexpired leases; (j) the
authorization of and entry into the New Corporate Governance Documents; (k) the
indemnification of directors, officers, and employees; (1) the preservation of Retained Causes of
Actions by the Reorganized Debtors; (m) the adoption of the Equity Incentive Program; and (n)
the taking of all necessary and appropriate actions by the Debtors or Reorganized Debtors, as
applicable, to effectuate the transactions under and in connection with the Plan.

(vi) Voting Power of Equity Securities—Bankruptcy Code Section
—1123(a)(6).

27. The Plan satisfies the requirements of Bankruptcy Code section 1123(a)(6). The
Plan provides that the certificates of incorporation and bylaws of the Reorganized Debtors will
include, among other things, pursuant to Bankruptcy Code section 1123(a)(6), a provision
prohibiting the issuance of non-voting equity securities, and providing for the appropriate
distribution of voting power among all classes of equity securities authorized for issuance under
the Plan, but only to the extent required by Bankruptcy Code section 1123(a)(6). Forms of such
New Corporate Governance Documents were filed as Exhibit 4 to the Plan Supplement.

(vii) Directors and Officers—Bankruptcy Code Section 1123(a)(7).

28. The Plan satisfies the requirements of Bankruptcy Code section 1123(a)(7).
Article 4.7 of the Plan contains provisions regarding the manner of selection of the directors and

officers of the Reorganized Debtors that are consistent with the interests of all holders of Claims

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and Interests and public policy. In addition, the Reorganized Debtors’ initial directors and
officers, to the extent known, have been disclosed prior to the Combined Hearing and, to the
extent not known, will be determined in accordance with the New Corporate Governance
Documents.

(viii) Impairment/Unimpairment of Classes—Bankruptcy Code Section
1123(b)(1).

29. The Plan is consistent with Bankruptcy Code section 1123(b)(1). Article IIT of
the Plan impairs or leaves Unimpaired each Class of Claims and Interests.

(ix) | Assumption and Rejection of Executory Contracts and Unexpired
Leases—Bankruptcy Code Section 1123(b)(2).

30. The Plan is consistent with Bankruptcy Code section 1123(b)(2) and satisfies the
requirements of Bankruptcy Code section 365(b). Article V of the Plan provides for the
assumption, assumption and assignment, and rejection of the Debtors’ executory contracts and
unexpired leases. The Debtors’ determination regarding the assumption, assumption and
assignment or rejection of executory contracts and unexpired leases is based on, and within, the
sound business judgment of the Debtors, is necessary to the implementation of the Plan, and is in
the best interests of the Debtors, the Estates, holders of Claims and Interests, and other parties in
interest in the Chapter 11 Cases. Except as set forth herein and/or in separate orders entered by
the Court relating to the assumption of executory contracts and unexpired leases, the Debtors
have cured or provided adequate assurances that they will cure defaults (if any) under or relating
to each executory contract and unexpired lease assumed under the Plan. In accordance with the
Plan, the Debtors filed and served the Assumption Notice on the applicable contract
counterparties. The Debtors have provided adequate notice that they are rejecting all executory
contracts and unexpired leases of the Debtors that are not listed in the Schedule of Assumed

Contracts, as supplemented from time to time.

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(x) Settlement, Releases, Exculpation, Injunction, and Preservation of
Claims and Causes of Action—Bankruptcy Code Section 1123(b)(3).

31. The Plan is consistent with Bankruptcy Code section 1123(b)(3). Pursuant to
Bankruptcy Rule 9019, the provisions of the Plan, as modified by this Confirmation Order,
constitute a good-faith compromise of all Impaired Claims and any other Claims as to which the
holder of such Claims has agreed to treatment other than payment in full in cash or other
treatment that would render the holder of such Claim Unimpaired. The compromise and
settlement of such Claims embodied in the Plan is in the best interests of the Debtors, the Estates,
and all holders of Claims and Interests, and are fair, equitable, and reasonable.

32. Article 4.13 of the Plan provides that the Reorganized Debtors will retain and
have the exclusive right to enforce, after the Effective Date, any claims, rights, Retained Causes
of Action, and Causes of Action the Debtors or the Estates may hold against any Entity, except
for those that have been expressly released under the Plan. The provisions in the Plan regarding
the preservation of the Retained Causes of Action are appropriate, fair, equitable, and reasonable,
and are in the best interests of the Debtors, the Estates, and holders of Claims and Interests.

33. Article 6.4 of the Plan describes certain releases granted by the Debtors (the

“Debtor Releases”). The Debtors have satisfied the business judgment standard with respect to

the propriety of the Debtor Releases. Such releases constitute a necessary and integral element
of the Plan, and are fair, reasonable, and in the best interests of the Debtors, the Estates, and
holders of Claims and Interests. The Debtor Releases are (a) in exchange for the good and
valuable consideration provided by the Released Parties; (b) an integral element of the
settlements and transactions incorporated into the Plan; (c) a good-faith settlement and
compromise of the Claims released by the Debtors under the Plan; (d) confers a material benefit

on, and is in the best interests of, the Debtors and all holders of Claims and Interests; (e) fair,

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equitable, and reasonable; (f) given, and made, after due notice and opportunity for hearing; (g)
consistent with Bankruptcy Code sections 105, 524, 1123, 1129 and 1141, and other applicable
provisions of, the Bankruptcy Code and all other applicable law; and (h) a bar to any of the
Debtors, the Estates, or any Person or Entity claiming through, on behalf of, or for the benefit of
the Debtors or the Estates, asserting any Claim or Cause of Action released by Article VI of the
Plan.

34. Article 6.4 of the Plan, as modified by this Confirmation Order, also describes
certain releases granted by holders of Claims against the Debtors and the other Released Parties

(the “Third-Party Releases” and, together with the Debtor Releases, the “Releases”). The Third-

Party Releases are consensual with respect to the Persons or Entities providing releases. In
addition, the Third-Party Releases are necessary and integral elements of the Plan, and are fair,
equitable, reasonable, and in the best interests of the Debtors, the Estates, and all holders of
Claims and Interests. The Third-Party Releases are: (a) in exchange for the good and valuable
consideration provided by the Released Parties; (b) an integral element of the settlements and
transactions incorporated into the Plan; (c) a good faith settlement and compromise of the claims
released by the Third-Party Releases; (d) confers a material benefit on, and is in the best interests
of, the Debtors and all holders of Claims and Interests; (e) fair, equitable, and reasonable; (f)
given and made after due notice and opportunity for hearing; (g) consistent with Bankruptcy
Code sections 105, 524, 1123, 1129 and 1141, and other applicable provisions of, the
Bankruptcy Code and all other applicable law; and (h) a bar to any Persons or Entities providing
releases, or any Person or Entity claiming through, on behalf of, or for the benefit of, the Persons
or Entities providing releases, asserting any claim or Cause of Action released pursuant to the

Third-Party Releases.

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35. The exculpation, described in Article 6.5 of the Plan and as modified by this
Confirmation Order (the “Exculpation”), is appropriate under applicable law, was proposed in
good faith, the product of extensive good-faith, arm’s-length negotiations with key constituents,
and appropriately limited in scope. The record in the Chapter 11 Cases fully supports the
Exculpation, which is appropriately tailored to protect the Exculpated Parties. Because the
Exculpation is critical to the Plan, and because the Exculpated Parties made substantial
contributions to the Chapter 11 Cases, the Exculpation is appropriate.

36. The injunction provision set forth in Article 6.6 of the Plan (the “Injunction’’) is
necessary to implement, preserve, and enforce the Debtor Releases, the Third-Party Releases, the
Exculpation, and any other provisions of the Plan, and is narrowly tailored to achieve this
purpose.

37. The release and discharge of all mortgages, deeds of trust, Liens, pledges, or other
security interests against any property of the Estates described in Article 6.3 of the Plan (the
“Lien Release”), except as otherwise expressly provided in the Plan, the Plan Supplement, or this
Confirmation Order, is necessary to implement the Plan. The Lien Release is appropriate, fair,
equitable, and reasonable and in the best interests of the Debtors, the Estates, and holders of
Claims and Interests.

(xi) Modification of Rights—Bankruptcy Code Section 1123(b)(5).

38. In accordance with Bankruptcy Code section 1123(b)(5), the Plan modifies or
leaves unaffected, as the case may be, the rights of certain holders of Claims and Interests.

(xii) Additional Plan Provisions—Bankruptcy Code Section 1123(b)(6).

39. The Plan contains various provisions that may be construed as discretionary but
not necessary for Confirmation under the Bankruptcy Code. Any such discretionary provisions

of the Plan are appropriate and consistent with the applicable provisions of the Bankruptcy Code,

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thereby satisfying Bankruptcy Code section 1123(b)(6).
(xiii) Cure of Defaults—Bankruptcy Code Section 1123(d).

40. In accordance with Bankruptcy Code section 1123(d), Article 5.2 of the Plan
provides for the satisfaction of any Cure amounts associated with each executory contract or
unexpired lease to be assumed or assumed and assigned pursuant to the Plan in accordance with
Bankruptcy Code section 365(b)(1). As set forth above, the Debtors timely filed and served the
Assumption Notice, and received one timely objection to the proposed Cure amounts, which has
been consensually resolved pursuant to paragraph 62 hereof. Any disputed Cure amounts will be
determined in accordance with the procedures set forth in the Scheduling and Solicitation
Procedures Order, the Assumption Notice and Article 5.2 of the Plan.

O. Debtor Compliance with the Bankruptcy Code—Bankruptcy Code Section
1129(a)(2).

41. The Debtors have complied with the applicable provisions of the Bankruptcy
Code and, thus, satisfied the requirements of Bankruptcy Code section 1129(a)(2). Specifically,
each Debtor:

a. is an eligible debtor under Bankruptcy Code section 109, and a proper
proponent of the Plan under Bankruptcy Code section 1121 (a);

b. has complied with applicable provisions of the Bankruptcy Code, except as
otherwise provided or permitted by orders of the Court; and

c. complied with the applicable provisions of the Bankruptcy Code, including
sections 1125 and 1126, the Bankruptcy Rules, the Local Rules, any
applicable non-bankruptcy law, rule and regulation, and the Scheduling and
Solicitation Procedures Order in transmitting the Solicitation Packages, and
related documents and notices, and in soliciting and tabulating the votes on
the Plan.

P. Plan Proposed in Good Faith—Bankruptcy Code Section 1129(a)(3).

42. The Plan satisfies the requirements of Bankruptcy Code section 1129(a)(3). The

Debtors have proposed the Plan in good faith and not by any means forbidden by law.

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Consistent with the overriding purpose of chapter 11, the Debtors filed the Chapter 11 Cases and
proposed the Plan with the legitimate purpose of allowing the Debtors to maximize stakeholder
value. The Plan fairly achieves a result consistent with the objectives and purposes of the
Bankruptcy Code, including the provisions of the Bankruptcy Code favoring consensual
reorganizations, such as “prepackaged” chapter 11 cases, and is consistent with the other
“prepackaged” cases that have been filed before the Court. In so determining based on the
evidence presented to the Court, including the Declarations, the Plan, the Disclosure Statement,
and the other motions and pleadings filed and the testimony elicited, the Court has examined the
totality of the circumstances surrounding the filing of the Chapter 11 Cases, the Plan itself
(including the Plan Supplement), the process leading to Confirmation, and the transactions to be
implemented pursuant to the Plan. The Plan is the product of extensive arm’s-length, good-faith,
negotiations among the Debtors, the holder of Second Lien Claims, and other parties in interest,
is in the best interests of the Debtors, the Estates and holders of Claims and Interests, and is
proposed with the honest purpose of substantially reducing the Debtors’ debt obligations and
expeditiously making the distributions provided for under the Plan. The Debtors and the
Reorganized Debtors, as applicable, and each of their respective officers, directors, employees,
advisors and professionals (a) acted in good faith in negotiating, formulating, and proposing the
Plan and the agreements, compromises, settlements, transactions, and transfers contemplated
thereby, and (b) will be acting in good faith in proceeding to (i) consummate the Plan and the
agreements, compromises, settlements, transactions, transfers, and documentation contemplated
by the Plan, including, but not limited to, the documents included in the Plan Supplement, and

(ii) take any actions authorized and directed or contemplated by this Confirmation Order.

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Q. Payment for Services or Costs and Expenses—Bankruptcy Code Section
1129(a)(4).

43. The procedures set forth in the Plan for the fees and expenses to be paid by the
Debtors in connection with the Chapter 11 Cases, or in connection with the Plan and incident to
the Chapter 11 Cases, satisfy the objectives of, and are in compliance with, Bankruptcy Code
section | 129(a)(4).

R. Directors, Officers, and Insiders—Bankruptcy Code Section 1129(a)(5).

44, The Debtors have satisfied the requirements of Bankruptcy Code section
1129(a)(5). To the extent not disclosed in the Plan Supplement, the identities of the Reorganized
Debtors’ directors and officers shall be determined in accordance with the New Corporate
Governance Documents.

S. No Rate Changes—Bankruptcy Code Section 1129(a)(6).

45. Bankruptcy Code section 1129(a)(6) is not applicable to the Chapter 11 Cases.
The Plan proposes no rate change that requires approval of any governmental regulatory
commission.

T. Best Interest of Creditors—Bankruptcy Code Section 1129(a)(7).

46. The Plan satisfies the requirements of Bankruptcy Code section 1129(a)(7). The
Liquidation Analysis attached to the Disclosure Statement as Exhibit C and the other evidence
related thereto in support of the Plan that was proffered or adduced in the Declarations or at,
prior to, or in connection with, the Combined Hearing: (a) are reasonable, persuasive, credible,
and accurate as of the dates such analysis or evidence was prepared, presented, or proffered;
(b) utilize reasonable and appropriate methodologies and assumptions; (c) have not been
controverted by other evidence; and (d) establish that each holder of an Allowed Claim or

Interest in an Impaired Class either (i) has accepted the Plan or (ii) will receive or retain at least

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as much under the Plan on account of such Claim or Interest, as of the Effective Date, as such
holder would receive if the Debtors were liquidated under chapter 7 of the Bankruptcy Code on
such date.

U. Acceptance by Certain Classes—Bankruptcy Code Section 1129(a)(8).

47. Classes 1, 2, 3, 5, 6, and 9 constitute Unimpaired Classes, each of which is
conclusively presumed to have accepted the Plan in accordance with Bankruptcy Code section
1126(f). Class 4 is the only Impaired Class entitled to vote on the Plan. As set forth in the
Voting Report, the Voting Class has voted to accept the Plan. The Plan has not been accepted by
all Impaired Classes because the holders of Interests in Classes 7 and 8 are deemed to have
rejected the Plan. Nonetheless, based on the record before the Court, the Plan is confirmable
because, in accordance with Bankruptcy Code sections 1129(a)(10) and 1129(b), it does not
discriminate unfairly and is fair and equitable with respect to Classes 7 and 8 and thus satisfies
Bankruptcy Code section 1129(b)(1).

V. Treatment of Claims Entitled to Priority Under Bankruptcy Code Section
507(a)—Bankruptcy Code Section 1129(a)(9).

48. The treatment of Administrative Claims, Professional Fee Claims, Priority Tax
Claims, and DIP Claims under Article II of the Plan, satisfies the requirements of, and complies
in all respects with, Bankruptcy Code section 1129(a)(9).

W. = Acceptance by At Least One Impaired Class—Bankruptcy Code Section
1129(a)(10).

49. The Plan satisfies the requirements of Bankruptcy Code section 1129(a)(10). As
evidenced by the Voting Report, the sole holder of Class 4 Second Lien Claims, which are
Impaired under the Plan, voted to accept the Plan, determined without including any acceptance

of the Plan by any insider (as that term is defined in Bankruptcy Code section 101(31)).

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X. Feasibility—Bankruptcy Code Section 1129(a)(11).

50. The Plan satisfies the requirements of Bankruptcy Code section 1129(a)(11). The
Financial Projections attached to the Disclosure Statement as Exhibit D and the other evidence
supporting Confirmation of the Plan proffered or adduced by the Debtors in the Declarations or
at, prior to, or in connection with, the Combined Hearing: (a) are reasonable, persuasive,
credible, and accurate as of the dates such analysis or evidence was prepared, presented, or
proffered; (6) utilize reasonable and appropriate methodologies and assumptions; (c) have not
been controverted by other evidence; (d) establish that Confirmation is not likely to be followed
by the liquidation or need for further financial reorganization of the Reorganized Debtors or any
successor to the Reorganized Debtors; and (e) establish that the Reorganized Debtors will have
sufficient funds available to meet their obligations under the Plan. Furthermore, the financing
and other transactions contemplated under the Plan will enable the Debtors to continue their
current operations and will eliminate a substantial portion of their funded debt. The Debtors
have demonstrated a reasonable assurance of the Plan’s prospects for success.

Y. Payment of Fees—Bankruptcy Code Section 1129(a)(12).

51. The Plan satisfies the requirements of Bankruptcy Code section 1129(a)(12).
Article II of the Plan provides for the payment of all fees payable by the Debtors under section
1930 of title 28 of the United States Code.

Z. Continuation of Retiree Benefits—Bankruptcy Code Section 1129(a)(13).

52. The Debtors do not incur liability for retiree benefits or the payment of retiree
benefits subject to Bankruptcy Code sections 1114 or 1129(a)(13). Accordingly, Bankruptcy

Code section 1129(a)(13) is inapplicable to the Chapter 11 Cases.

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AA. Non-Applicability of Certain Sections—Bankruptcy Code Sections
1129(a)(14), (15), and (16).

53. Bankruptcy Code sections 1129(a)(14), 1129(a)(15), and 1129(a)(16) do not
apply to the Chapter 11 Cases. The Debtors owe no domestic support obligations, are not
individuals, and are not nonprofit corporations.

BB. Confirmation of Plan Over Non-Acceptance of Impaired Class—Bankruptcy
Code Section 1129(b).

54. The Plan satisfies the requirements of Bankruptcy Code section 1129(b).
Notwithstanding the fact that Classes 7 and 8 are deemed to reject the Plan, the Plan may be
confirmed pursuant to Bankruptcy Code section 1129(b)(1). Based on the persuasive and
credible evidence, all of the requirements of Bankruptcy Code section 1129(a) other than
Bankruptcy Code section 1129(a)(8) have been met. The Plan has been proposed in good faith,
is fair and equitable, and does not discriminate unfairly with respect to all Classes, including
Classes 7 and 8, because similarly situated creditors and holders of Interests will receive
substantially similar treatment on account of their Claims and Interests, irrespective of the Class
in which they are classified. Under the Plan, no recovery is provided on account of any Claim or
Interest that is junior to Classes 7 and 8, and no holder of a Claim in a Class senior to such
Classes is receiving more than 100% on account of its Claim. The Plan may therefore be
confirmed despite the fact that not all Impaired Classes have voted to accept the Plan.

CC. Only One Plan—Bankruptcy Code Section 1129(c).

55. The Plan satisfies the requirements of Bankruptcy Code section 1129(c). The
Plan is the only chapter 11 plan filed in each of the Chapter 11 Cases.

DD. Principal Purpose of the Plan—Bankruptcy Code Section 1129(d).

56. The Plan satisfies the requirements of Bankruptcy Code section 1129(d). As

evidenced by its terms, the principal purpose of the Plan is not the avoidance of taxes or the

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avoidance of the requirements of section 5 of the Securities Act, and there has been no filing by a
governmental unit (as defined in Bankruptcy Code section 101(27)) asserting any such attempted
avoidance.

EE. Small Business Case—Bankruptcy Code Section 1129(e).

57. The Chapter 11 Cases are not small business cases within the meaning of the
Bankruptcy Code. Accordingly, Bankruptcy Code section 1129(e) is inapplicable to the
Chapter 11 Cases.

FF. Good Faith Solicitation—Bankruptcy Code Section 1125(e).

58. Based on the record before the Court, (a) the Debtors, (b) the Second Lien Agent
and Second Lien Lender, (c) the Professionals of the Debtors and the legal and financial advisors
to the Second Lien Agent and Second Lien Lender, as applicable, and (d) the respective
successors, predecessors, control persons, members, officers, directors, employees and agents of
each of the entities in (a) through (c), (i) have acted in “good faith” within the meaning of
Bankruptcy Code section 1125(e) and in compliance with the applicable provisions of the
Bankruptcy Code, the Bankruptcy Rules, the Local Rules, and any applicable non-bankruptcy
law, rule, or regulation in connection with all their respective activities relating to the Plan,
including the solicitation of acceptances to the Plan, and (ii) have participated in good faith and
in compliance with the applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, the
Local Rules, and applicable non-bankruptcy law in the offer, issuance, sale, or purchase of a
security, offered, or sold under the Plan, and are entitled to the protections afforded by
Bankruptcy Code section 1125(e).

GG. Valuation.

59. The valuation analysis contained in the Disclosure Statement and the Declarations

provide the basis for the Plan, and the estimated going concern value of the Reorganized Debtors

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is reasonable and credible. All parties in interest have been given the opportunity to challenge
the valuation analysis and none have. The valuation analysis (a) is reasonable, persuasive,
credible, and accurate and (b) relies on reasonable and appropriate methodologies and
assumptions.

HH. Satisfaction of Confirmation Requirements.

60. Based on the foregoing and all other pleadings and evidence proffered or adduced at
or prior to the Combined Hearing, the Plan and the Debtors satisfy the requirements for
Confirmation set forth in Bankruptcy Code section 1129.

II. Likelihood of Satisfaction of Conditions Precedent to the Effective Date.

61. Each of the conditions precedent to the Effective Date, as set forth in Article 8.2
of the Plan, has been or is reasonably likely to be satisfied or waived in accordance with Article
8.3 of the Plan.

JJ. Implementation of Plan.

62. All documents and agreements necessary to implement the Plan, including those
contained in the Plan Supplement, and all other relevant and necessary documents and
agreements, and any actions required of the Debtors or the Reorganized Debtors pursuant to the
Plan, are essential elements of the Plan, and consummation of each such agreement or the taking
of any such action is in the best interests of the Debtors, the Estates, and holders of Claims and
Interests. The Debtors have exercised reasonable business judgment in determining to enter into
the contemplated agreements, and the agreements have been negotiated in good faith, at arm’s-
length, are fair and reasonable, and shall, upon completion of such documentation and execution,
be valid, binding, and enforceable agreements and not be in conflict with any federal or state

law. The Debtors and the Reorganized Debtors, as applicable, are authorized and directed to

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take any action reasonably necessary or appropriate to consummate such agreements and the
transactions contemplated thereby, in all cases consistent with the terms of the Plan.

KK. The Exit Facility.

63. The Exit Facility is an essential element of the Plan, was proposed in good faith,
is critical to the success and feasibility of the Plan and is necessary and appropriate for
consummation and implementation of the Plan and the transactions contemplated thereby and to
the operation of the Reorganized Debtors. The Exit Facility constitutes reasonably equivalent
value and fair and valuable consideration and is in the best interests of the Debtors, the Estates,
holders of Claims or Interests, and all other parties in interest. Ally Bank, as agent under the
Exit Facility Credit Agreement, and the Exit Facility Lenders, and each of their respective
agents, affiliates, current and former officers, directors, employees, managers, attorneys,
financial advisors, accountants, investment bankers, consultants, management companies, or
other professionals or representatives participated in good-faith, arm’s-length negotiations with
respect to the Exit Facility, and all other agreements (including the Exit Facility Credit
Agreement), instruments, and ancillary documents to be executed and/or delivered in connection
with the foregoing (including, but not limited to, any amendment and restatement agreements,
supplemental agreements, intercreditor agreements, subordination agreements, guarantee
agreements, pledge and security agreements, mortgages or deeds of trust, exhibits, and schedules
to any agreement or document, certificates, financing statements to be filed in accordance with
the Uniform Commercial Code or other applicable law, account control agreements, customary
opinions as may be agreed between the Reorganized Debtors and the Exit F acility Agent under
the Exit Facility, and any other document used to create a validly created, attached, enforceable

and perfected security interest) (collectively, the “Exit Facility Documents”). Any credit

extended, letters of credit issued for the account of, or loans made to, the Reorganized Debtors

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by the Exit Facility Lenders pursuant to the Exit Facility Credit Agreement shall be deemed to
have been and has been extended, issued and made in good faith and for legitimate business
purposes. The Exit Facility Agent and the Exit Facility Lenders and each of their respective
agents, affiliates, current and former officers, directors, employees, managers, attorneys,
financial advisors, accountants, investment bankers, consultants, management companies, or
other professionals or representatives are therefore entitled to any and all releases,
indemnifications, or other protections as set forth in the Exit Facility Documents. The Debtors
exercised reasonable business judgment in determining to enter into the Exit Facility and have
provided sufficient and adequate notice thereof, and the terms and conditions of the Exit Facility
Documents are fair and reasonable.

LL. Disclosure of Facts.

64. The Debtors have disclosed all material facts regarding the Plan, including with
respect to the consummation of the Plan, and the fact that each Debtor will emerge from its
chapter 11 case as a validly existing corporation, limited liability company, partnership, or other
form, as applicable, with separate assets, liabilities, and obligations.

RR. Waiver of Stay.

65. Notwithstanding Bankruptcy Rules 3020(e) and 7062 (and notwithstanding any
other applicable provision of the Bankruptcy Code or the Bankruptcy Rules to the contrary), it is
appropriate (a) to waive the stay and (b) for this Confirmation Order to be effective and

enforceable immediately upon entry.

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ORDER

NOW, THEREFORE, IT IS ORDERED, ADJUDGED, DECREED AND
DETERMINED THAT:

l. Findings of Fact and Conclusions of Law. The above-referenced findings of
fact and conclusions of law are hereby incorporated by reference as though fully set forth herein
and constitute findings of fact and conclusions of law pursuant to Rule 52 of the Federal Rules of
Civil Procedure, as made applicable herein by Bankruptcy Rules 7052 and 9014. Any finding of
fact shall constitute a finding of fact even if it is referred to as a conclusion of law, and any
conclusion of law shall constitute a conclusion of law even if it is referred to as a finding of fact.

2. Disclosure Statement. For the reasons set forth herein, the Disclosure Statement
(a) contains sufficient information of a kind necessary to satisfy the disclosure requirements of
all applicable non-bankruptcy law, rules and regulations, including the Securities Act, (b)
contains “adequate information” (as such term is defined in Bankruptcy Code section 1125(a)()
and used in Bankruptcy Code section 1126(b)(2)) with respect to the Debtors, the Plan and the
transactions contemplated therein and (c) is approved in all respects.

3. Ballot. The Ballot, which was approved in all respects pursuant to the Scheduling
and Solicitation Procedures Order, is in compliance with Bankruptcy Rule 3018(c) and conforms
to Official Form B14.

4, Solicitation. The solicitation of votes on the Plan (a) complied with Bankruptcy
Code sections 1125 and 1126, Bankruptcy Rules 3017 and 3018, all other provisions of the
Bankruptcy Code, and all other applicable rules, laws, and regulations, (b) was appropriate and
satisfactory, and (c) is approved in all respects.

5. Notice of the Combined Hearing. Notice of the Combined Hearing was

appropriate and satisfactory and is approved in all respects.

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6. Modifications to the Plan. After the Confirmation Date, the Debtors may,
subject to the consent of Lightship, institute proceedings in the Court to remedy any defect or
omission or reconcile any inconsistencies in the Plan or this Confirmation Order.

7. Deemed Acceptance of the Plan as Modified. In accordance with Bankruptcy
Code section 1127 and Bankruptcy Rule 3019, all holders of Claims who voted to accept the
Plan or who are conclusively presumed to have accepted the Plan are deemed to have accepted
the Plan, as amended or modified, without additional disclosure pursuant to Bankruptcy Code
section 1125. No holder of a Claim shall be permitted to change its vote as a consequence of
such amendments or modifications.

8. Confirmation of the Plan. The Plan, including the Plan Supplement, and each of
its provisions (whether or not specifically approved herein) is and are CONFIRMED in each and
every respect, pursuant to Bankruptcy Code section 1129. The terms of the Plan and the Plan
Supplement (subject to any further modifications) are hereby approved and this Confirmation
Order is effective as of the date hereof. The Plan, including the Plan Supplement, is incorporated
by reference into, and is an integral part of, this Confirmation Order.

9. Objections. Except for the objection of the United States which is resolved by
the inclusion of paragraph 59 herein, all objections, responses to, statements and comments, if
any, in opposition to, and all reservations of rights pertaining to Confirmation or approval of the
Disclosure Statement that (a) have not been withdrawn, waived, or settled or (b) are not cured by
the relief granted herein are overruled in their entirety on the merits. All withdrawn objections,
if any, are deemed withdrawn with prejudice.

10. No Action Required. Under the provisions of applicable non-bankruptcy law,

including section 303 of the General Corporation Law of the State of Delaware and Bankruptcy

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Code section 1142(b), the transactions contemplated by the Plan shall be approved and effective
as of the Effective Date and the Plan may be consummated without the need for any further state
or local regulatory approvals or approvals by any non-Debtor parties, without further application
to, or any further order of, the Court, and without any requirement for further action by the
Debtors, their board of directors, officers, managers, members, stockholders, or any other Person
or Entity, and with the effect that such actions had been taken by unanimous action of such
directors, officers, managers, members or stockholders. After the Effective Date, each of the
documents related to the Plan will be a legal, valid and binding obligation of the Debtors or the
Reorganized Debtors, enforceable against and by such Debtors and Reorganized Debtors in
accordance with the respective terms thereof.

11. Binding Effect. Upon the occurrence of the Effective Date, the terms of the Plan
(including all documents and agreements executed pursuant thereto or in connection therewith,
including those contained the Plan Supplement) and this Confirmation Order are immediately
effective and enforceable and deemed binding on the Debtors, the Estates, the Reorganized
Debtors, all holders of Claims or Interests (regardless of whether such holders of Claims or
Interests have, or are deemed to have, accepted the Plan), all Persons or Entities that are parties
to or are subject to the settlements, compromises, Releases, Exculpations, and the Injunction
described in the Plan, all non-Debtor parties to executory contracts and unexpired leases with the
Debtors, any Person or Entity making an appearance in the Chapter 11 Cases, and any other
party in interest in the Chapter 11 Cases. The rights, benefits, and obligations of any Person or
Entity named or referred to in the Plan shall be binding on, and shall inure to the benefit of, any
heir, executor, administrator, successor or assign of such Person or Entity. The Plan and related

documents constitute legal, valid, binding and authorized obligations of the respective parties

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thereto and shall be enforceable in accordance with their terms. Pursuant to section 1142(a) of
the Bankruptcy Code, the Plan and its related documents shall apply and be enforceable
notwithstanding any otherwise applicable non-bankruptcy law.

12. Vesting of Assets in the Reorganized Debtors. Except as otherwise provided in
the Plan, this Confirmation Order, or in any agreement, instrument, or other document
incorporated in the Plan, on the Effective Date, all property in each Estate, all Retained Causes
of Action, and any property acquired by the any of the Debtors under the Plan shall vest in each
respective Reorganized Debtor, free and clear of all Liens, Claims, charges, encumbrances,
Interests, and other interests, except for the Liens and Claims established under the Plan. On and
after the Effective Date, except as otherwise provided in the Plan and in this Confirmation Order,
each Reorganized Debtor may operate its business and may use, acquire, or dispose of property
and compromise or settle any Claims, Interests, or Causes of Action without supervision or
approval by the Court and free of any restrictions of the Bankruptcy Code or Bankruptcy Rules,
subject only to those restrictions expressly imposed by the Plan or this Confirmation Order as
well as the documents and instruments executed and delivered in connection therewith, including
the documents, exhibits, instruments and other materials comprising the Plan Supplement.

13. Exit Facility. On the Effective Date, the Reorganized Debtors are authorized to
(i) enter into the Exit Facility, (ii) grant any Liens and security interests and incur the
indebtedness as required under, and in accordance with the terms and conditions of, the Exit
Facility, and (iii) issue, execute, and deliver all documents, instruments and agreements
necessary or appropriate to implement and effectuate all obligations under the Exit Facility, with
each of the foregoing being acceptable to Lightship, and to take all other actions necessary to

implement and effectuate borrowings under the Exit Facility. On the Effective Date, the Exit

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Facility, together with new promissory notes, if any, evidencing obligations of the Reorganized
Debtors thereunder, and all other documents, instruments, and agreements to be entered into,
delivered, or confirmed thereunder on the Effective Date shall become effective. The new
promissory notes issued pursuant to the Exit Facility and all obligations under the Exit Facility
and related documents shall be paid as set forth in the Exit Facility and related documents.

14. The Exit Facility Credit Agreement (as may be modified through the Effective
Date) shall constitute a legal, valid, binding and authorized obligation of the Reorganized
Debtors, shall be deemed approved by this Confirmation Order, and shall be enforceable in
accordance with its terms. The financial accommodations to be extended thereunder are being
extended, and shall be deemed to have been extended, in good faith and for legitimate business
purposes, are reasonable, shall not be subject to avoidance, recharacterization or subordination
(including equitable subordination) for any purposes whatsoever, and shall not constitute
preferential transfers, fraudulent conveyances or other voidable transfers under the Bankruptcy
Code or any other applicable non-bankruptcy law.

15. On the Effective Date, all of the Liens and security interests to be granted in
accordance with the Exit Facility (i) shall be deemed to be approved and granted for reasonably
equivalent value, (ii) shall be legal, binding and enforceable Liens on, and security interests in,
the collateral granted thereunder in accordance with the terms of the Exit Facility Credit
Agreement, (iii) shall be deemed perfected on the Effective Date, subject only to such Liens and
security interests as may be permitted under the Exit Facility Credit Agreement, and (iv) shall
not be subject to avoidance, recharacterization, or subordination (including equitable

subordination) for any purposes whatsoever and shall not constitute preferential transfers,

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fraudulent conveyances or other voidable transfers under the Bankruptcy Code or any applicable
non-bankruptcy law.

16. The Persons or Entities granted such Liens and security interests are authorized to
make all filings and recordings, and to obtain all governmental approvals and consents necessary
to establish and perfect such Liens and security interests under the provisions of the applicable
state, provincial, federal or other law that would be applicable in the absence of the Plan and this
Confirmation Order (it being understood that perfection shall occur automatically by virtue of
the entry of this Confirmation Order).

17. Notwithstanding anything to the contrary in the Plan or this Confirmation Order,
the Court shall not have jurisdiction over any matters first arising under the Exit Facility after the
Effective Date.

18. Cancellation of Securities and Agreements. On the Effective Date, except as
otherwise specifically provided for in the Plan: (i) the obligations of the Debtors under any note,
bond, indenture, or other instrument or document directly or indirectly evidencing or creating
any indebtedness or obligation of the Debtors in connection with Claims and Interests, including
the First Lien Claims, Second Lien Claims, Other Secured Claims, Existing Preferred Shares,
and Existing Common Shares (except such certificates, notes, or other instruments or documents
evidencing indebtedness or obligations of a Debtor that are specifically reinstated pursuant to the
Plan), shall be deemed cancelled, surrendered, and terminated, and of no further force or effect,
without further act or action (and the securities deemed surrendered), and as to the Debtors, and
the Reorganized Debtors shall not have any continuing obligations thereunder; and (ii) the
obligations of the Debtors pursuant, relating, or pertaining to any agreements, indentures, or

similar documents governing the notes, bonds, or other instruments or documents evidencing or

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creating any indebtedness or obligation of the Debtors (except such certificates, notes, or other
instruments or documents evidencing indebtedness or obligations of a Debtor that are
specifically reinstated pursuant to the Plan) in connection with Claims and Interests, including
the First Lien Claims, Second Lien Claims, Other Secured Claims, Existing Preferred Shares,

and Existing Common Shares, shall be released and discharged; provided, however, that,

notwithstanding the foregoing, (i) the First Lien Credit Agreement shall continue in effect for the
limited purpose of (a) allowing the First Lien Agent to make any distributions on account of the
First Lien Claims pursuant to the terms of the Plan, to perform such other necessary
administrative or other functions with respect thereto, and for the First Lien Agent to have the
benefit of all the rights and protections and other provisions of the First Lien Credit Agreement
vis-a-vis the holders of the First Lien Claims, and (b) permitting the First Lien Agent to assert
any right to indemnification, contribution, or other claim it may have under the First Lien Credit
Agreement, subject to any and all defenses any party may have under the Plan or applicable law
to any such asserted rights or claims and (ii) the Second Lien Credit Agreement shall continue in
effect for the limited purpose of (a) allowing the Second Lien Agent to make any distributions on
account of the Second Lien Claims pursuant to the terms of the Plan, to perform such other
necessary administrative or other functions with respect thereto, and for the Second Lien Agent
to have the benefit of all the rights and protections and other provisions of the Second Lien
Credit Agreement vis-a-vis the holders of the Second Lien Claims, and (b) permitting the Second
Lien Agent to assert any right to indemnification, contribution, or other claim it may have under
the Second Lien Credit Agreement, subject to any and all defenses any party may have under the
Plan or applicable law to any such asserted rights or claims. For the avoidance of doubt, nothing

in this paragraph shall result in any obligation, liability, or expense of the Debtors or

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Reorganized Debtors or affect the discharge of Claims or Interests pursuant to the Bankruptcy
Code, this Confirmation Order, or the Plan, or result in any additional obligation, expense, or
liability of the Debtors or Reorganized Debtors. For the avoidance of doubt, Article 4.8, Article
VI and Article 10.3 of the Plan shall not affect, impair or otherwise modify the requirement of
the Debtors or the Reorganized Debtors, as applicable, to provide holders of Allowed Claims
(whether asserted before or after the Effective Date) with the treatment set forth in Article 3.3 of
the Plan.

19. Assertion and Resolution of Claims. Notwithstanding anything in the Plan or
this Confirmation Order to the contrary (including, without limitation, Article [X of the Plan), (i)
holders of Claims in Classes 1, 2, 3, 5 or 6 shall not be required to file a Proof of Claim with the
Bankruptcy Court and, unless they file a Proof of Claim, shall not be subject to any claims
resolution process in Bankruptcy Court in connection with their Claims, (ii) holders of Claims in
Classes 1, 2, 3, 5 or 6 shall retain all of their rights under applicable nonbankruptcy law to pursue
those Claims against the Debtors or the Reorganized Debtors, as applicable, in any forum with
jurisdiction over the parties and the Debtors and the Reorganized Debtors and the parties shall
retain all defenses, counterclaims, rights to setoff, and rights to recoupment as to those Claims
and (iii) payment of Claims in Classes 1, 2, 3, 5 or 6 is subject to the rights of the Debtors and,
after the Effective Date, the Reorganized Debtors to dispute such Claim, in the case of such a
Claim as to which no Proof of Claim has been filed, in a forum with jurisdiction over the parties
in accordance with applicable nonbankruptcy law and, in the case of such a Claim as to which a
Proof of Claim has been filed, in the Bankruptcy Court. For the avoidance of doubt, Allowed

Claims shall receive the treatment provided for in the Plan and this Confirmation Order.

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20. Distributions. The procedures governing distributions contained in Article VII
of the Plan shall be, and hereby are, approved in their entirety.

21. Preservation of Retained Causes of Action. Unless any Cause of Action
against a holder of a Claim or Interest or other Person or Entity is expressly waived,
relinquished, exculpated, released, compromised, or settled in the Plan or a Final Order, in
accordance with Bankruptcy Code section 1123(b), the Reorganized Debtors shall retain all
rights to commence, pursue, litigate, or settle, as appropriate, any and all Retained Causes of
Action, whether existing as of the Petition Date or thereafter arising, in any court or other
tribunal including, without limitation, in an adversary proceeding filed in the Chapter 11 Cases,
notwithstanding the occurrence of the Effective Date. No Person or Entity may rely on the
absence of a specific reference in the Plan or the Disclosure Statement to any Cause of Action
against them as any indication that the Debtors or the Reorganized Debtors will not pursue any
and all available Causes of Action against them. Unless any Cause of Action against an Entity is

expressly waived, relinquished, exculpated, released, compromised, or settled in the Plan or a

Final Order, the Reorganized Debtors expressly reserve all Causes of Action for later
adjudication, and, therefore, no preclusion doctrine, including the doctrines of res judicata,
collateral estoppel, issue preclusion, claim preclusion, waiver, estoppel (judicial, equitable, or
otherwise), or laches, shall apply to such Causes of Action upon or after the Confirmation of the
Plan or the Effective Date of the Plan based on the Plan or the Confirmation Order. The
Reorganized Debtors reserve and shall retain the foregoing Causes of Action notwithstanding the
rejection of any executory contract or unexpired lease during the Chapter 11 Cases or pursuant to
the Plan. The Reorganized Debtors shall have the exclusive right, authority, and discretion to

determine and to initiate, file, prosecute, enforce, abandon, settle, compromise, release,

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withdraw, or litigate to judgment any such Causes of Action, or to decline to do any of the
foregoing, without the consent or approval of any third party or any further notice to or action,
order, or approval of the Court.

22. Subordination. Except as expressly provided in the Plan or this Confirmation
Order, the allowance, classification, and treatment of all Allowed Claims and Interests and the
respective distributions and treatments under the Plan take into account and conform to the
relative priority and rights of the Claims and Interests in each Class in connection with any
contractual, legal, and equitable subordination rights relating thereto. However, the Debtors
reserve the right to reclassify any Allowed Claim (other than First Lien Claims and Second Lien
Claims) or Interest in accordance with any contractual, legal, or equitable subordination relating
thereto. If any claim is reclassified as set forth in Article 3.9 of the Plan, the holder of such
Claim shall be provided notice of such reclassification.

23. Directors and Officers of the Reorganized Debtors. The Reorganized Debtors’
initial directors and officers, to the extent known, have been disclosed prior to the Combined
Hearing. To the extent that any director or officer has not yet been determined, such
determination will be made in accordance with the New Corporate Governance Documents and
such appointment is hereby approved.

24. Release of Liens. Except as otherwise provided in this Confirmation Order, the
Plan, the Plan Supplement, or in any contract, instrument, release, or other agreement or
document created pursuant to the Plan, on the Effective Date, all mortgages, deeds of trust,
Liens, pledges, and other security interests against any property of the Estates shall be fully
released and discharged, and all of the right, title, and interest of any holder of such mortgages,

deeds of trust, Liens, pledges, and other security interests shall revert to the Reorganized Debtors

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and their successors and assigns, in each case, without any further approval or order of the Court
and without any action or filing required to be made by the Debtors. To the extent that any
holder of a Secured Claim that has been satisfied or discharged in full pursuant to the Plan (or
any agent for such holder) has filed or recorded publicly any Liens and/or security interests to
secure such holder’s Secured Claim, as soon as reasonably practicable on or after the Effective
Date, such holder (or any agent for such holder) shall take any and all steps reasonably requested
by the Debtors, the Reorganized Debtors, or the Exit Facility Agent under the Exit Facility
Documents that are reasonably necessary or desirable to record or effectuate the cancellation
and/or extinguishment of such Liens and/or security interests, including the making of any
applicable filings or recordings at the sole cost and expense of the Reorganized Debtors, and the
Reorganized Debtors shall be entitled to make any such filings or recordings approved by such
holder (such approval not to be unreasonably withheld, delayed or conditioned) on such holder’s
behalf.

25. Assumption or Rejection of Executory Contracts and Unexpired Leases.
Except as otherwise provided in the Plan, the Plan Supplement, or the Confirmation Order, as of
the Effective Date, the Debtors shall be deemed to have rejected each executory contract or
unexpired lease to which the Debtors are a party as of the Petition Date unless any such contract
or lease (a) was previously assumed or rejected upon motion by a Final Order, (b) previously
expired or terminated pursuant to its own terms, (c) is the subject of any pending motion,
including to assume, to assume on modified terms, to reject, or to make any other disposition
filed by the Debtors on or before the Confirmation Date, or (d) is identified on the Schedule of
Assumed Contracts. This Confirmation Order constitutes an order of the Court approving the

assumption or rejection of executory contracts and unexpired leases pursuant to Bankruptcy

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Code sections 365 and 1123 as of the Effective Date. Notwithstanding anything in this
Confirmation Order or the Plan to the contrary, no contract with a governmental unit (as defined
in Bankruptcy Code section 101(27) may be added to the Schedule of Assumed Contracts unless
the applicable governmental unit consents to such assumption if required by applicable law.

26. Cure Claims. Any monetary defaults under each executory contract and
unexpired lease to be assumed or assumed and assigned under the Plan shall be satisfied pursuant
to Bankruptcy Code section 365(b)(1) by the Cure. The Debtors shall, at their option, with the
consent of Lightship, resolve any dispute in accordance with Article 5.2 of the Plan.

27. Adequate Assurance of Future Performance. Except as otherwise provided in
this Confirmation Order or the Plan, the only adequate assurance of future performance of any
executory contract or unexpired lease that is assumed in connection with the Plan shall be the
promise of the applicable Reorganized Debtor to perform all obligations under any executory
contract or unexpired lease under the Plan. No other adequate assurance shall be necessary to
satisfy Bankruptcy Code section 365.

28. Rejection Damage Claims. If the rejection of an executory contract or unexpired
lease pursuant to the Plan or otherwise results in a Rejection Damages Claim, then such
Rejection Damages Claim shall be forever barred and shall not be enforceable against the
Debtors or the Reorganized Debtors or their properties, or any of their interests in properties as
agents, successors or assigns, unless a Proof of Claim is filed with the Claims and Voting Agent
either (a) on or before the date that is the first Business Day that is thirty (30) days after the
Court’s entry of an order authorizing the rejection of an executory contract or unexpired lease or

(b) if such executory contract or unexpired lease is removed from the Schedule of Assumed

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Contracts and deemed rejected, within thirty (30) days of such counter-party receiving notice of
such rejection.

29. Indemnification. All Indemnification Obligations currently in place for the
current and former directors, officers, employees, attorneys, other professionals and agents of
each of the Debtors and such current and former directors’ and officers’ respective affiliates shall
be continuing obligations of the Reorganized Debtors solely to the extent necessary to permit
coverage of all such persons under any Runoff Endorsements; provided that in no event shall any
such claim for indemnity be recoverable from the Reorganized Debtors as opposed to under such
Runoff Endorsements.

30. After the Effective Date, the Reorganized Debtors shall not terminate or otherwise
reduce the coverage under any D&O Insurance Policies (including the Runoff Endorsements)
then in effect. Directors and officers of the Reorganized Debtors shall be indemnified by the
Reorganized Debtors as provided in the New Corporate Governance Documents and new D&O
Insurance Policies to be obtained by or on behalf of the Reorganized Debtors with the consent of
Lightship. Any modifications of, amendments to, or the procuring of, insurance for current or
former directors, officers, employees, attorneys or other professionals and agents of the Debtors
or the Reorganized Debtors, as applicable, shall require the consent of Lightship.

31. Release, Exculpation, and Injunction Provisions. For the reasons set forth
herein, the Release, Exculpation, Injunction, and related provisions set forth in Article VI of the
Plan, all of which are incorporated herein by reference, are approved and authorized in their
entirety, and such provisions are effective and binding on all Persons or Entities to the extent

provided herein and therein.

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32. Notwithstanding anything in this Confirmation Order or the Plan to the contrary,
Article 6.2 of the Plan shall only apply to Impaired Claims and any other Claims as to which the
holder of such Claims has agreed to treatment other than payment in full in cash or other
treatment that would render the holder of such Claim Unimpaired.

33. The definition of “Exculpated Parties,” as set forth in Article 1.2(a)(42) of the
Plan is hereby amended to read as follows: “Exculpated Parties” means, collectively, (i) the
Debtors, (ii) the Reorganized Debtors, (iii) the Debtors’ officers and directors that served during
the pendency of the Chapter 11 Cases, and (iv) all Professionals retained in the Chapter 11
Cases.

34. Authorization to Consummate. The Debtors are authorized to consummate the
Plan at any time after the entry of this Confirmation Order subject to satisfaction or waiver (by
the required parties) of the conditions precedent to Consummation set forth in Article VIII of the
Plan.

35. Administrative Claims Bar Date. The holder of an Administrative Claim (other
than Professional Fee Claims) must file with the Court and serve on the Reorganized Debtors
notice of such Administrative Claim no later than forty-five (45) days after the Effective Date.
Such notice must include at a minimum (i) the name of the Debtor(s) purported to be liable for
the Administrative Claim, (ii) the name of the holder of the Administrative Claim, (iii) the
amount of the Administrative Claim, and (iv) the basis for the Administrative Claim. Failure to
file and serve such notice timely and properly shall result in the Administrative Claim being
forever barred and such Administrative Claim shall be deemed discharged as of the Effective
Date. Objections to such requests, if any, must be filed and served on the Reorganized Debtors

and the requesting party no later than the 75th day after the Effective Date. Notwithstanding the

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foregoing, no request for payment of an Administrative Claim need be filed with respect to an
Administrative Claim previously Allowed by Final Order, including all Administrative Claims
expressly Allowed under the Plan.

36. Notwithstanding anything in this Confirmation Order or the Plan to the contrary,
the Administrative Claims Bar Date shall not apply to (i) any liability incurred and payable in the
ordinary course of business by the Debtors, (ii) any Administrative Claim that has been Allowed
on or before the Effective Date or (iii) Administrative Claims described in Bankruptcy Code
section 503(b)(1)(B), (C) or (D).

37. Professional Compensation. All requests for compensation or reimbursement of
Professional Fee Claims from the Petition Date through the Effective Date shall be filed with the
Court no later than sixty (60) days after the Effective Date; provided that the Reorganized
Debtors may pay retained Professionals or other Entities in the ordinary course of business after
the Effective Date, without further Court order. Objections to any Professional Fee Claims must
be filed and served on the Reorganized Debtors and the requesting party no later than twenty
(20) days after such Professional Fee Claim is filed with the Court.

38. Statutory Fees. On or before the Effective Date, the Debtors shall pay, in full, in
Cash, any fees pursuant to section 1930 of title 28 of the United States Code that are due and
owing before the Effective Date. On and after the Effective Date, the Reorganized Debtors shall
be responsible for paying fees pursuant to section 1930 of title 28 of the United States Code until
the Chapter 11 Cases are closed, dismissed, or converted.

39. Fees and Expenses of Lightship and First Lien Agent. On the Effective Date,
the Debtors shall pay any and all unpaid reasonable and documented fees and expenses of

Lightship, without the need for any such party to file an application or otherwise seek Court

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approval. The reimbursement of Lightship’s professionals and advisors shall be limited to:
(i) White & Case LLP, (ii) Houlihan Lokey Capital Inc., (iii) Stikeman Elliot LLP, (iv) Seward
& Kissel LLP, (v) Kieselstein Law Firm, PLLC, (vi) RSM US LLP, and (vii) Fox Rothschild
LLP, in each case incurred in connection with the Chapter 11 Cases prior to the Effective Date.

40. On the Effective Date, the Debtors shall pay any and all unpaid reasonable and
documented fees and expenses of the First Lien Agent owed under the First Lien Credit
Agreement, without the need for any such party to file an application or otherwise seek Court
approval.

41. Exemption from Transfer Taxes. Pursuant to, and to the fullest extent
permitted by, Bankruptcy Code section 1146(a), any transfer pursuant to, in contemplation of, or
in connection with, the Plan, including for (i) the issuance, distribution, transfer, or exchange of
any debt, securities, or other interest in the Debtors or the Reorganized Debtors; (ii) the creation,
modification, consolidation, or recording of any mortgage, deed of trust, or other security
interest, or the securing of additional indebtedness by such or other means; (iii) the making,
assignment, or recording of any lease or sublease; or (iv) the making, delivery, or recording of
any deed or other instrument of transfer under, in furtherance of, or in connection with, the Plan,
including any deeds, bills of sale, assignments, or other instrument of transfer executed in
connection with any transaction arising out of, contemplated by, or in any way related to, the
Plan, shall not be subject to any document recording tax, stamp tax, conveyance fee, intangibles,
or similar tax, mortgage tax, real estate transfer tax, mortgage recording tax, sales or use tax,
Uniform Commercial Code filing or recording fee, regulatory filing or recording fee, or other
similar tax or governmental assessment, and the appropriate state or local governmental officials

or agents shall forego the collection of any such tax or governmental assessment and to accept

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for filing and recordation any of the foregoing instruments or other documents without the
payment of any such tax or governmental assessment.

42. Documents, Mortgages, and Instruments. Each federal, state, commonwealth,
local, foreign, or other governmental agency is authorized and directed to accept any and all
documents, mortgages, and instruments necessary or appropriate to effectuate, implement, or
consummate the Plan and this Confirmation Order.

43. Continued Effect of Stays and Injunction. Except as otherwise set forth in the
Plan or this Confirmation Order, all injunctions or stays in effect in the Chapter 11 Cases under
Bankruptcy Code sections 105 or 362, or any order of the Court, or otherwise, and in existence
on the Confirmation Date, shall remain in full force and effect until the Effective Date.

44, —_Non-Severability of Plan Provisions Upon Confirmation. Each term and
provision of the Plan, including the Plan Supplement and all exhibits and schedules thereto and
all other documents filed in connection with the Plan, or executed or to be executed in
connection with transactions contemplated by the Plan, and all amendments and modifications of
any of the foregoing made pursuant to the provision of the Plan governing such amendments and
modifications are: (a) valid and enforceable in accordance with its terms; (b) integral to the Plan
and may not be deleted or modified without the consent of the Debtors (with the consent of
Lightship) or the Reorganized Debtors, as applicable; and (c) non-severable and mutually
dependent.

45. Post-Confirmation Modifications. Subject to the limitations set forth in the
Plan, after entry of this Confirmation Order, the Debtors may, subject to the consent of

Lightship, amend or modify the Plan, in accordance with Bankruptcy Code section 1 127(b).

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46. Applicable Non-Bankruptcy Law. The provisions of this Confirmation Order,
the Plan and related documents, or any amendments or modifications thereto, shall apply and be
enforceable notwithstanding any otherwise applicable non-bankruptcy law.

47. Waiver of Filings. Any requirement under Bankruptcy Code section 521 or
Bankruptcy Rule 1007 obligating the Debtors to file any list, schedule, or statement with the
Court or the U.S. Trustee is permanently waived as to any such list, schedule, or statement not
filed as of the Confirmation Date.

48. Governmental Approvals Not Required. This Confirmation Order shall
constitute all approvals and consents required, if any, by the laws, rules, or regulations of any
state, federal, or other governmental authority with respect to the dissemination, implementation,
or consummation of the Plan and the Disclosure Statement, any certifications, documents,
instruments or agreements, and any amendments or modifications thereto, and any other acts
referred to in, or contemplated by, the Plan and the Disclosure Statement.

49, Section 1145 Exemption. The offering, issuance, and distribution of the New
Common Stock shall be exempt from the registration and prospectus delivery requirements of
the Securities Act and any other applicable laws requiring registration and/or delivery of a
prospectus prior to the offering, issuance, distribution, or sale of securities pursuant to
Bankruptcy Code section 1145.

50. Notices of Confirmation and Effective Date. Within five (5) Business Days
following the occurrence of the Effective Date, the Reorganized Debtors shall serve notice of
entry of this Confirmation Order and the occurrence of the Effective Date (the “Notice of
Effective Date”), substantially in the form attached hereto as Exhibit 1, which form is hereby

approved, on all holders of Claims and Interests as of January 25, 2018, all Persons or Entities

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listed on the Debtors’ creditor matrix, and the Core Notice Parties. Notwithstanding the above,
no service of any kind of the Notice of Effective Date shall be required to be mailed or made
upon any Person or Entity to whom the Debtors mailed notice of the Combined Hearing, but
received such notice returned marked “undeliverable as addressed,” “moved, left no forwarding
address” or “forwarding order expired,” or similar reason, unless the Debtors have been
informed in writing by such Person or Entity or are otherwise aware of that Person’s or Entity’s
new address. Service of the Notice of Effective Date described herein in the time and manner set
forth herein shall constitute due, adequate and sufficient notice, and no other or further notice
shall be necessary.

51. Post-Effective Date Notice Pursuant to Bankruptcy Rule 2002. After the
Effective Date, any Persons or Entities that want to continue to receive notice in the Chapter 11
Cases must file a renewed request to receive documents pursuant to Bankruptcy Rule 2002 no

later than thirty (30) days after the Effective Date; provided, however; that the U.S. Trustee shall

be excused from this requirement and shall remain on the Bankruptcy Rule 2002 service list. To
the extent a renewed request is not timely filed with the Court, the Reorganized Debtors are
authorized to limit notice and not include such Persons or Entities on any post-Effective Date
Bankruptcy Rule 2002 service list.

52. Reversal or Failure of Consummation.

53. If it is determined that the Effective Date shall not and cannot occur or the terms
contemplated by the Plan and this Confirmation Order, then the Plan shall be null and void in all
respects, and nothing contained in the Plan and no acts taken in preparation for consummation of
the Plan shall (i) constitute or be deemed to constitute a waiver or release of any Claims by or

against, or any Interests in, any Debtors or any other Person or Entity, (ii) prejudice in any

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manner the rights of the Debtors or any Person or Entity, including Lightship, in further
proceedings involving the Debtors, or (iii) constitute an admission of any sort by any Debtors or
any other Person or Entity, including Lightship.

54. Termination of the Restructuring Support Agreement. On the Effective Date,
the Restructuring Support Agreement will terminate in accordance with section 7 thereof.

55. Governing Law. Unless a rule of law or procedure is supplied by federal law
(including the Bankruptcy Code and Bankruptcy Rules) or unless otherwise specifically stated in
any document, the laws of the State of New York (without giving effect to the principles of
conflicts of laws) shall govern the rights, obligations, construction and implementation of the
Plan and any agreements, documents, instruments or contracts executed or entered into in
connection with the Plan, unless otherwise specified.

56. Cooperation by DTC. The Depository Trust Company (“DTC”), and any
participants and intermediaries, shall fully cooperate and facilitate the cancellation and
extinguishment of the Existing Preferred Shares and Existing Common Shares, as applicable,
pursuant to the Plan. DTC shall be required to accept and conclusively rely upon the Plan and
this Confirmation Order in lieu of a legal opinion regarding the cancellation and extinguishment
of the Existing Preferred Shares and Existing Common Shares including, without limitation,
from DTC book-entry delivery, settlement, and depository services. Notwithstanding anything
to the contrary in the Plan, no entity (including, for the avoidance of doubt, DTC) may require a
legal opinion regarding the validity of any transaction contemplated by the Plan, including, for
the avoidance of doubt, the cancellation and extinguishment of the Existing Preferred Shares and

Existing Common Shares from DTC book entry delivery, settlement, and depository services.

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57. Definition of “Allowed”. Notwithstanding anything to the contrary in the Plan or
the Disclosure Statement, “Allowed” shall mean, with reference to any Claim or Interest, (i) a
Claim or Interest (or a portion thereof) that is neither Disputed, contingent nor unliquidated, and,
if filed with the Bankruptcy Court or Claims and Voting Agent, as to which the Debtors or any
other party in interest has not filed an objection or requested estimation by the Claims Objection
Deadline or such other applicable period of limitation fixed by the Bankruptcy Court; (ii) a
Claim or Interest that is allowed (x) pursuant to the Plan, (y) in any stipulation that is approved
by the Bankruptcy Court or (z) pursuant to any contract, instrument, indenture or other
agreement entered into or assumed in connection herewith; (iii) a Claim relating to a rejected
Executory Contract or Unexpired Lease that has been allowed by a Final Order; (iv) a Claim that
is listed in the Schedules (to the extent the Debtors file Schedules in the Chapter 11 Cases) as
liquidated, noncontingent, and undisputed and as to which no objection has been filed; or (v) any
other Claim or Interest that has been allowed by a Final Order. If a Claim is “Allowed” only in
part, references to “Allowed Claims” include and are limited to the portion of such Claim that is
Allowed. For the avoidance of doubt, a Claim that is Disputed is not an Allowed Claim.

58. Collective Bargaining Agreements. Notwithstanding anything in the Plan or
Plan Supplement to the contrary, the Debtors shall make any and all payments due under the
assumed (i) Collective Bargaining Agreement for Unlicensed Personnel by and between the
International Organization of Masters, Mates & Pilots, AFL-CIO and Grand River (the

“Unlicensed Personnel CBA”), and (ii) Collective Bargaining Agreement for Licensed Personnel

by and between the International Organization of Masters, Mates & Pilots, AFL-CIO and Grand

River (the “Licensed Personnel CBA” and, together with the Unlicensed Personnel CBA, the

“Collective Bargaining Agreements”), accrued prior to the Effective Date in the ordinary course.

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Any dispute with regards to amounts owed under the assumed Collective Bargaining Agreements
accrued on or after the Effective Date shall be resolved pursuant to the terms of the Collective
Bargaining Agreements and applicable law. Additionally, this Confirmation Order and the Plan
shall not (a) discharge any, rights, claims or defenses regarding amounts determined to be owed
to or by (i) the M.M. & P. Health & Benefit Plan, (ii) the M.M. & P. Individual Retirement
Account Plan, and (iii) the M.M. & P. Maritime Advancement, Training, Education and Safety
Program accrued before or after the Effective Date or (b) limit or otherwise modify the tolling of
any statute of limitations with respect to any such rights, claims or defenses as set forth in section
108 of the Bankruptcy Code.

59. __ Reservation of Rights in Favor of Governmental Units. Notwithstanding any
provision in the Plan, this Confirmation Order or the related plan documents, nothing discharges
or releases the Debtors, the Reorganized Debtors or any non-debtor from any claim, liability or
cause of action of the United States or any State, or impairs the ability of the United States or any
State to pursue any claim, liability or cause of action against any Debtor, Reorganized Debtor or
non-debtor. Contracts, leases, covenants, guaranties, indemnifications, operating rights
agreements or other interests or agreements with the United States or any State shall be, subject
to any applicable legal or equitable rights or defenses of the Debtors or Reorganized Debtors
under applicable non-bankruptcy law, paid, treated, determined and administered in the ordinary
course of business as if the Debtors’ bankruptcy cases were never filed and the Debtors and
Reorganized Debtors shall comply with all applicable non-bankruptcy law. All claims, liabilities,
causes of action, or defenses of or to the United States or any State shall survive the Chapter 11
Cases as if they had not been commenced and be determined in the ordinary course of business,

including in the manner and by the administrative or judicial tribunals in which such rights,

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defenses, claims, liabilities, or causes of action would have been resolved or adjudicated if the
Chapter 11 Cases had not been commenced; provided, that nothing in the Plan or ‘this
Confirmation Order shall alter any legal or equitable rights or defenses of the Debtors or the
Reorganized Debtors under nonbankruptcy law with respect to any such claim, liability or cause
of action. Without limiting the foregoing, for the avoidance of doubt: (i) the United States and
any State shall not be required to file any proofs of claim in the Chapter 11 Cases for any claim,
liability or cause of action; (ii) nothing shall affect or impair the exercise of the United States’ or
any State’s police and regulatory powers against the Debtors, the Reorganized Debtors or any
non-debtor; (iii) nothing shall be interpreted to set cure amounts or to require the United States or
any State to novate or otherwise consent to the transfer of any federal or state contracts, leases,
guaranties, indemnifications, grants, agreements or interests; (iv) nothing shall affect or impair
the United States’ or any State’s rights and defenses of setoff and recoupment, or to assert setoff
or recoupment against the Debtors or the Reorganized Debtors and such rights and defenses are
expressly preserved; and (v) nothing shall constitute an approval or consent by the United States
without compliance with all applicable legal requirements and approvals under non-bankruptcy
law.

60. Notwithstanding any language to the contrary contained in the Disclosure
Statement, the Plan, and/or this Confirmation Order, no provision thereof shall release any non-
Debtor, including any current and/or former officer and/or director of the Debtors and/or any
non-Debtor Person or Entity, from liability to the United States Securities and Exchange
Commission (the “SEC”), in connection with any legal action or claim brought by the SEC

against such Person and/or Entity.

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61. The Great Lakes Towing Company. Notwithstanding anything in the Plan, the
Plan Supplement or the Cure Notice to the contrary, so long as the Grand River Contract
(defined below) is assumed pursuant to the terms of the Plan, the Debtors shall make any and all
payments due under that certain Full Service Lakes-Wide Towing Contract by and between
Lower Lakes Transportation Company and Grand River Navigation Company, Inc. (together, the
“Debtor Parties”) and The Great Lakes Towing Company (“GLT”) with an effective date of

March 1, 2015 (the “Grand River Contract”) accrued prior to the Effective Date, and otherwise

satisfy obligations relating to the Grand River Contract prior to the Effective Date, in the
ordinary course, and GLT shall retain the right to assert a breach or default against the applicable
Debtors for any failure to perform such obligations (other than defaults of the type described in
Section 365(b)(2) of the Bankruptcy Code). Any dispute with regards to amounts owed under
the Grand River Contract accrued on or after the Effective Date, or any other obligations relating
to the assumed Grand River Contract on or after the Effective Date, shall be resolved pursuant to
the terms of the Grand River Contract.

62. Pinney Dock & Transport, LLC. Amounts owed under the Terminal Services .
and Dockage Agreement by and between the Debtors and Pinney Dock & Transport, LLC (the

“Pinney Contract”) accrued on or after the Effective Date, if such Pinney Contract is assumed,

shall be resolved pursuant to the terms of the Pinney Contract and applicable law.

63. References to and Omissions of Plan Provisions. References to articles,
sections, and provisions of the Plan are inserted for convenience of reference only and are not
intended to be a part of or to affect the construction of the Plan. The failure to specifically
include or to refer to any particular article, section, or provision of the Plan in this Confirmation

Order shall not diminish or impair the effectiveness of such article, section, or provision, it being

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the intent of the Court that the Plan, the Plan Supplement, and any related document, agreement
or exhibit are approved in their entirety, except as expressly modified herein, and be incorporated
herein by this reference.

64. Successors and Assigns. Except as otherwise provided herein, or in the Plan, the
rights, benefits, and obligations of any Person or Entity named or referred to in the Plan shall be
binding on, and shall inure to the benefit of any heir, executor, administrator, successor, assign,
affiliate, officer, director, manager, agent, representative, attorney, beneficiaries, or guardian, if
any, of each Person or Entity.

65. Headings. Headings inserted herein are for convenience of reference only, and
are not intended to be a part of or to affect the construction of the Plan.

66. Effect of Conflict. Unless otherwise set forth in the Plan, this Confirmation
Order supersedes any Court order issued prior to the Confirmation Date that may be inconsistent
with this Confirmation Order. If there is any inconsistency between the terms of the Plan and the
terms of this Confirmation Order, the terms of this Confirmation Order govern and control.

67. Final Order and Waiver of Stay. The requirements of Bankruptcy Rule 3020(e)
that an order confirming a plan is stayed until the expiration of 14 days after entry of an order is
hereby waived. This Confirmation Order is a Final Order and shall take effect immediately and
shall not be stayed pursuant to Bankruptcy Rules 3020(e), 6006(d) or 7062 or any other
provision of the Bankruptcy Code or the Bankruptcy Rules. The Debtors, with the consent of
Lightship, are authorized to consummate the Plan on any business day after entry of this
Confirmation Order, subject to satisfaction or waiver (by the required parties) of the conditions

set forth in Article 8.2 of the Plan.

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68. Retention of Jurisdiction. Notwithstanding the entry of this Confirmation
Order, from and after the Effective Date, the Court shall retain such jurisdiction over the Chapter
11 Cases as is legally permissible, including jurisdiction over those matters and issues described
in Article [X of the Plan.

69. The Record. The record of the Combined Hearing is closed.

Dated: February 28, 2018 Reade Pl S Lame
Wilmington, Delaware THE HONORJBLE B AN L. NNON

UNITED STATES BANKRUPTCY JUDGE

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